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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                                 CASE NO. 3:13-CR-50-R

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.

SHAUDRELL ROBINSON                                                                  DEFENDANT

                             MAGISTRATE JUDGE’S REPORT
                               and RECOMMENDATION

       Before the Court is Defendant Shaundrell Robinson’s motion to suppress. (DN 49). On

December 12, 2013, a suppression hearing was held in Louisville, Kentucky. Robert Bonar,

AUSA, appeared on behalf of the Government. Aubrey Williams appeared on behalf of the

Robinson. Terri Turner, official court reporter, recorded the proceedings. The Government

introduced the testimony of Detective Aleasha Rhudy and Detective Keith Simpson of the

Louisville Metro Police Department.

       Robinson moved to suppress statements he made after his arrest on January 5, 2013,

based on his argument that he did not knowingly and voluntarily waive his Miranda rights. (DN

49). During the suppression hearing, Robinson made an oral motion to suppress based on his

argument that the police lacked probable cause to arrest Robinson on January 5, 2013. The

Government and Robinson have submitted additional briefing on both of these issues. (DN 58,

DN 67, DN 69). This motion is now ripe for adjudication. The magistrate judge

RECOMMENDS that Defendant’s motion to suppress (DN 49) be DENIED.

                                        BACKGROUND

       Robinson, along with Defendant Troy Lamont Gaines, Jr., is charged with aiding and

abetting robbery and the use of a firearm in relation to a crime in violation of 18 U.S.C. §§ 1951;


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924(c)(1) inter alia. Robinson moves to suppress statements he made following his arrest on

January 5, 2013. Robinson argues that the police lacked probable cause to stop and arrest him.

Robinson also argues that his mental state prevented him from knowingly and voluntarily

waiving his Miranda rights. (DN 49).

       The police arrested Robinson in the early morning hours of January 5, 2013. (DN 62, pg.

12). Robinson had allegedly dropped off Defendant Gaines at a Speedway, where Gaines

allegedly committed robbery with a weapon. (DN 62, pg. 11-12). The police pulled over

Robinson shortly thereafter. The vehicle being driven by Robinson allegedly matched the

vehicle that dropped off Gaines at the Speedway and the description of the vehicle used in over

twenty previous robberies. (DN 62, pg. 108).

       The police took Robinson to police headquarters at 5:19 a.m. (DN pg. 13). Robinson

signed a form acknowledging and waiving his Miranda rights at 6:12 a.m. (DN 62, pg. 19).

Shortly thereafter, Robinson was interviewed by Detective Rhudy. During the interview,

Robinson confessed to his involvement in over twenty robberies. (DN 62, pg. 39). Robinson

then made a recorded confession at 12:10 p.m. (DN 62, pg. 44).

                                     LEGAL STANDARD

       Robinson’s first argument is that the police lacked probable cause to arrest him.

       An arrest without a warrant is constitutionally valid if the police “had probable cause to

make it – whether at the moment the facts and circumstances within their knowledge and of

which they had reasonably trustworthy information were sufficient to warrant a prudent man in

believing that the petitioner had committed or was committing an offense.” Beck v. Ohio, 379

U.S. 89, 91 (1964). The Court may “examine the events leading up to the arrest, and then decide

‘whether these historical facts, viewed from the standpoint of an objectively reasonable police



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officer, amount to’ probable cause.” United States v. Romero, 452 F.3d 610, 615 (6th Cir.

2006).

         Robinson’s second argument is that he is mentally challenged and could not knowingly

waive his Miranda rights at the time of his confession.

         A defendant may waive his Miranda rights, but the waiver must be done “knowingly,

voluntarily, and intelligently” to be valid. United States v. Perez, 2012 U.S. Dist. LEXIS 40050

*9 (W.D. 2012); see also Colorado v. Connelly, 479 U.S. 157, 163 (1986). This does mean the

defendant considered “‘every possible consequence of a waiver.’” Garner v. Mitchell, 557 F.3d

257, 261 (6th Cir. 2009) (quoting Colorado v. Spring, 479 U.S. 564, 573-74 (1987)). It means

that the defendant was aware that he may “‘choose not to talk to law enforcement officers, to talk

only with counsel present, or to discontinue talking at any time.’” Id; Hall v. Beckstrom, 2012

U.S. Dist. LEXIS 140388 *114 (W.D. Ky. 2012).

         In deciding whether a defendant made a “knowing, intelligent, and voluntary waiver,” the

Court “must examine the totality of the circumstances.” Beckstrom, 2012 U.S. Dist. LEXIS

140388 at 115. This includes “such factors as the age, education and intelligence of the

Defendant, the nature and circumstances of the interrogation,” and whether the police used

“coercive tactics” such as “threats or promises.” Id. “[D]iminished mental capacity alone does

not prevent a defendant from validly waiving his or her Miranda rights.” Garner v. Mitchell,

557 F.3d 257, 264 (6th Cir. 2009).

         “When examining these totality of the circumstances, the Court is to look at the matter

‘primarily from the perspective of the police.’” Beckstrom, 2012 U.S. Dist. LEXIS 140388 at

114 (quoting Garner, 557 F.3d at 261-63). Therefore, the analysis is “whether the police

believed [the Defendant] understood their explanation of those [Miranda] rights.” Garner, 557



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F.3d at 262-63 (“The underlying police-regulatory purpose of Miranda compels that these

circumstances be examined, in their totality, primarily from the perspective of the police.”).

         The government bears the burden of proving by a “preponderance of the evidence” that

Robinson voluntarily waived his Miranda rights. United States v. Bloomer, 2006 U.S. Dist.

LEXIS 36762 *22 (W.D. Ky. 2006) (citing United States v. Wrice, 954 F.2d 406, 410 (6th Cir.

1992).

                                          DISCUSSION

         The police had probable cause to believe that Robinson had aided and abetted a robbery

and therefore to arrest him. In the weeks preceding Robinson’s arrest, over twenty robberies had

been committed in the Louisville metro area. (DN 62, pg. 6). The police had a description of the

car they believed was involved in these robberies. (DN 62, pg. 108). The Robbery Unit was

deployed that night searching for that vehicle. (DN 62, pg. 6, 108). An officer observed a car

that matched the description. (DN 62, pg. 108). The officer followed the car to Speedway, but

did not intervene 1 until after Gaines had exited. (DN 62, pg. 108). Robinson was followed

leaving the area of the Speedway, pulled over, and arrested. (DN 62, pg. 12-13).

         At the suppression hearing, Robinson questioned the quality of the police’s description of

the suspect vehicle, including when the police first recorded the suspected vehicle’s license plate

number. (DN 62, pg. 106-17). Regardless of when the police first obtained the license plate

number, the police still pulled Robinson over driving a vehicle that matched the description of a

vehicle used in prior robberies, a short distance and short time after the robbery at the Speedway

had been reported. These facts are sufficient for a reasonable man to believe that the driver of
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  Detective Simpson’s explanation for why the officer did not stop a robbery in progress: “And
some people kind of think, well, why didn't he stop it. You can't. If you can't get to them before
they get to the door, you have to almost let them go in and do it because you could create a
hostage situation potentially. So he did exactly right." (DN 62, pg. 108).

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that vehicle – Robinson – had committed or aided the commission of a crime. Beck, 379 U.S. at

91.

       Robinson also argues that although he confessed to the robberies, his mental deficiencies

prevented him from knowingly and voluntarily confessing. See e.g. Connelly, 479 U.S. at 163.

Robinson primarily relies on the fact that the “Social Security Administration has declared him

to be intellectually disabled.” (DN 49).

       There is no clearly defined minimum level of intelligence required for a suspect to

understand and waive his Miranda rights. Hall v. Beckstrom, 2012 U.S. Dist. LEXIS 140388

*123-26 (W.D. Ky. 2012) (collecting cases); Garner, 557 F.3d at 264 (collecting cases).

       The presence of a mental disability is merely one factor in determining whether a

defendant’s confession was involuntary, though it does “require the Court to examine more

carefully all of the remaining circumstances that surround the impaired defendant’s confession.”

Beckstrom, 2012 U.S. Dist. LEXIS 140388 at 125.

       In this case, all other indications are that Robinson understood his Miranda rights and

voluntarily waived them. Robinson was given a standard Waiver of Rights form, initialed it five

times next to each right, and signed it at the bottom. (DN 49, pg. 20). Detective Rhudy and

Robinson spent three minutes reviewing the form. (DN 49, pg. 21-22). Robinson was offered the

opportunity to smoke, use the restroom, and drink water during the interrogation. (DN 49, pg.

61). There is no evidence that Robinson was threatened or that promises were made to him to

elicit a confession. (DN 62, pg. 28, 76). Finally, to the police it appeared that Robinson

understood his rights. Garner, 557 F.3d at 262-63. On cross-examination, Detective Rhudy was

asked whether Robinson understood his Miranda rights. Rhudy responded: “When he was

asked if he understood -- and he seemed to understand -- he said he understood. I had no reason



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to believe that he did not understand. 2” (DN 62, pg. 46); Garner, 557 F.3d at 265 (observing that

involuntary confessions based on “limited intellectual capacity . . . [f]requently . . . also feature

observable indication to police that the defendant was incapable of understanding the Miranda

warnings”).

        In short, while Robinson may possess limited intellectual abilities, there are no other

indications that he did not understand and voluntarily waive his Miranda rights. United States v.

Adams, 583 F.3d 457, 467 (6th Cir. 2009) (stating a Miranda waiver requires “an uncoerced

choice and the requisite level of comprehension.”).

                                      RECOMMENDATION

        The police had probable cause to pull over Robinson, who was driving a vehicle that

matched the description of one the police were searching for. Although Robinson may be

limited mentally, there is no other indication that he did not understand his Miranda rights or

was coerced into waiving them.

        Robinson requested a Franks hearing, but because this request was not made until

Robinson’s reply (DN 69), the Government has not had an opportunity to respond.

        The magistrate judge RECOMMENDS that Robinson’s motion to suppress (DN 49) be

DENIED and that Robinson’s request for a Franks hearing be DENIED with leave to re-file.

                                              NOTICE

        Pursuant to 28 U.S.C. § 636(b)(1) and Fed.R.Civ.P. 72(b), any party shall have a period

of fourteen (14) days, including intervening Saturdays, Sundays, and/or legal holidays pursuant

to Fed.R.Civ.P. 6(a)(1)(B), from the date of notice of electronic filing within which to file

written objections to the foregoing report with the Clerk of the Court. Further and pursuant to


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 Detective Rhudy did not talk to Robinson about his education, employment history, or whether he had
been declared disabled by the SSA. (DN 62, pg. 45).

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Fed.R.Civ.P. 72(b), any party may file a response to objections filed by another party within

fourteen (14) days after being served with a copy of said objections. A period of three days shall

be added to each fourteen (14) day period. Fed.R.Civ.P. 6(d) and 5(b)(2)(E).

       The original objections shall be sent to the Clerk of Court either electronically or by mail.

Failure of a party to file timely objections shall constitute a waiver of the right to appeal by that

party. Thomas v. Arn, 474 U.S. 140 (1985).




                                                                       March 5, 2014

c:     Counsel




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